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19                                   UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA,
21                                      SAN FRANCISCO DIVISION
22

23   SONOS, INC.,                                     Case No. 3:21-cv-07559-WHA

24                      Plaintiff,                    SONOS, INC.’S ADMINISTRATIVE
                                                      MOTION TO CONSIDER WHETHER
25          v.                                        ANOTHER PARTY’S MATERIAL
                                                      SHOULD BE SEALED RE
26   GOOGLE LLC,                                      DOCUMENTS FILED IN SUPPORT OF
                                                      SONOS’S THIRD AMENDED
27                      Defendant.                    COMPLAINT

28
                                                          SONOS’S ADMIN. MOT. TO CONSIDER WHETHER
                                                        ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                3:21-CV-07559-WHA
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 1   I.     INTRODUCTION

 2             Pursuant to Civil Local Rule 79-5(f), Plaintiff Sonos, Inc. (“Sonos”) hereby respectfully

 3   submits this Administrative Motion to Consider Whether Another Party’s Material Should Be

 4   Sealed (“Administrative Motion”) in connection with Sonos, Inc.’s Third Amended Complaint

 5   (“Sonos’s TAC”). Specifically, Sonos seeks to file under seal the information and documents

 6   listed below:

 7
                                                          PORTIONS TO BE               DESIGNATING
 8                    DOCUMENT
                                                             SEALED                       PARTY
 9        Exhibit CD to Sonos’s TAC                   Entire Document                  Google
10        Exhibit CI to Sonos’s TAC                   Entire Document                  Google
          Exhibit CJ to Sonos’s TAC                   Entire Document                  Google
11
          Exhibit CK to Sonos’s TAC                   Entire Document                  Google
12
          Exhibit CL to Sonos’s TAC                   Entire Document                  Google
13        Exhibit CW to Sonos’s TAC                   Entire Document                  Google
14

15   II. LEGAL STANDARD

16             Materials and documents may be provisionally filed under seal pursuant to Civil Local

17   Rule 79-5(f) when the document, or portions thereof, “has been designated as confidential by

18   another party or non-party.” See L.R. 79-5(f).

19   III. GOOGLE’S CONFIDENTIAL INFORMATION

20             Sonos seeks to seal material and documents filed in support Sonos’s TAC because they

21   may contain information that Google, LLC (“Google”) considers Confidential and/or Highly

22   Confidential-Attorneys’ Eyes Only and/or Highly Confidential-Source Code pursuant to the

23   Protective Order entered by this Court. Dkt. 92. Sonos takes no position on the merits of sealing

24   Google’s designated material, and expects Google to file one or more declarations in accordance

25   with the Local Rules.

26   IV. CONCLUSION

27             In compliance with Civil Local Rule 79-5(d) and (e), unredacted versions of the above-

28   listed documents accompany this Administrative Motion and redacted versions are filed publicly.

                                                                SONOS’S ADMIN. MOT. TO CONSIDER WHETHER
                                                      1       ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                      3:21-CV-07559-WHA
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 1   A proposed order is being filed concurrently herewith. For the foregoing reasons, Sonos

 2   respectfully requests that the Court grant Sonos’s Administrative Motion.

 3
     Dated: July 8, 2022
 4                                             By: /s/ Cole B. Richter
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                                                             SONOS’S ADMIN. MOT. TO CONSIDER WHETHER
                                                  2        ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                                                                   3:21-CV-07559-WHA
